Case 1:23-cr-00118-AT Document 146-3 Filed 09/21/23 Page 1 of 16




                            Exhibit 3
        Case
          Case1:22-cv-10062-VEC-JW
                  1:23-cr-00118-AT Document       Document146-329 Filed
                                                                   Filed09/21/23
                                                                         08/02/23 Page
                                                                                   Page2 1ofof1615
                                                                         USDC SDNY
                                                                         DOCUMENT
                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                             DOC #:
SOUTHERN DISTRICT OF NEW YORK                                            DATE FILED: 08/02/2023
 -------------------------------------------------------------- X
 TAO AN, CHUNGANG GUAN, CUI                                     :
 QINGYUN, HUIMIN LIN, BEILE LI,                                 :
 YANMING WANG, TAO ZHENG, ZHENG HU, :
 YUAN CAO, LINWAN FENG,                                         :
                                                                :        22-CV-10062 (VEC)
                                              Plaintiffs,       :
                                                                :        OPINION & ORDER
                            -against-                           :
                                                                :
 LUC A. DESPINS and PAUL HASTINGS LLP, :
                                                                :
                                                                :
                                              Defendants. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

       Plaintiffs are various Chinese nationals residing in the United States who have sued Paul

Hastings LLP (“Paul Hastings”) and one of its partners, Luc A. Despins, for allegedly violating

the Foreign Agents Registration Act (“FARA”), 22 U.S.C. §§ 611–621, by failing to register as

an agent of the People’s Republic of China (“PRC”) or the Chinese Communist Party (“CCP”).

See Am. Compl., Dkt. 10. Defendants moved to dismiss the Amended Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(1) for failing adequately to allege subject matter

jurisdiction and Rule 12(b)(6) for failing to state a claim. See Defs. MTD Mem., Dkt. 15 at 1–2.

Defendants also moved to sanction Plaintiffs’ counsel pursuant to Rule 11(b) for bringing

frivolous claims and allegedly initiating the lawsuit for an improper purpose. Defs. Sanctions

Mem., Dkt. 12 at 1, 4. Plaintiffs opposed both motions. See Pls. Sanctions Opp., Dkt. 23; Pls.

MTD Opp., Dkt. 22. For the following reasons, Defendants’ motion to dismiss and motion for

sanctions are GRANTED, and the Court awards Defendants reasonable attorneys’ fees and costs.




                                                 1
        Case
         Case1:22-cv-10062-VEC-JW
              1:23-cr-00118-AT Document
                                   Document
                                        146-329 Filed
                                                 Filed09/21/23
                                                       08/02/23 Page
                                                                 Page3 2ofof1615




                                               BACKGROUND

        Plaintiffs allege that they are the victims of a harassment campaign brought by the CCP

and PRC. Am. Compl. ¶ 24. Plaintiffs further allege that because Paul Hastings provided legal

services related to the global public offering of Jinshang Bank, a bank controlled and operated by

the CCP, it is an agent of the CCP or PRC and required to register as a foreign agent under

FARA. Id. ¶¶ 39–49, 51–53. Defendants also allege that Mr. Despins is an agent of the CCP or

PRC and has violated FARA’s registration requirement. 1 See id. ¶¶ 3, 51.

        At the center of this lawsuit is self-proclaimed billionaire Mr. Ho Wan Kwok, who is not

a party to this action. On February 15, 2022, Mr. Kwok filed for bankruptcy in the United States

Bankruptcy Court for the District of Connecticut. See generally Pac. All. Asia Opportunity Fund

L.P. v. Ho Wan Kwok (In re Kwok), Ch. 11 Case Nos. 22-50073, 22-5032 (Bankr. D. Conn.

2022). The Bankruptcy Court appointed Mr. Despins, represented by Paul Hastings, as the

Chapter 11 trustee of Mr. Kwok’s controlled entities. See Orders, Dkts. 523, 668, In re Kwok,

Ch 11 Case Nos. 22-50073, 22-5032.

        Since at least November 2022, Mr. Kwok has weaponized his active social media

presence to mobilize his supporters and launch a harassment campaign against Paul Hastings,

Mr. Despins, and Mr. Despins’s family. See Order, Dkt. 133 ¶¶ 34, 41–45, 49, In re Kwok, Ch

11 Case Nos. 22-50073, 22-5032 (hereinafter “Bankr. Prelim. Inj. Mem.”). Mr. Kwok has

threatened Mr. Despins with “rogue’s ways,” and promised that Defenands “will suffer

calamities.” Bankr. Prelim. Inj. Mem. ¶ 45.




1
         Defendants state that Mr. Despins was not involved in the Jinshang Bank transaction, and Plaintiffs do not
allege any facts to suggest that Mr. Despins is in any other way connected to the People’s Republic of China
(“PRC”) or Chinese Communist Party (“CCP”). Defs. MTD Mem., Dkt. 15 at 4.

                                                         2
      Case
       Case1:22-cv-10062-VEC-JW
            1:23-cr-00118-AT Document
                                 Document
                                      146-329 Filed
                                               Filed09/21/23
                                                     08/02/23 Page
                                                               Page4 3ofof1615




       Following Mr. Kwok’s call to action, his supporters have protested outside the homes of

Mr. Despins, his daughter, and his ex-wife, as well as near Paul Hasting’s New York office. See

id. ¶¶ 42–43, 52–53, 57, 69–71. They have distributed fliers that depict Mr. Despins with blood

dripping from his eyes and mouth and a sickle and hammer emblazoned on his forehead, with

text that refers to Defendants as “the CCP’s running dog” and an “enabler” of the CCP. First

Andres Decl. Ex. 22, Dkt. 13. They have also distributed materials that refer to Mr. Despins as

an extortionist, an anti-Semite, and a “scumbag.” See First Andres Decl. Exs. 15, 22–25.

       The harassment campaign has also included numerous federal lawsuits alleging that those

involved in Mr. Kwok’s bankruptcy proceeding are agents of the PRC or CCP and have violated

FARA’s registration requirement. See, e.g., Am. Compl., Dkt. 43 ¶ 60, Gong v. Sarnoff et al,

No. 23-CV-343 (S.D.N.Y. Apr. 26, 2023); Compl., Dkt. 1 ¶¶ 74, 118–25, Wyatt v. U. of Md., No.

23-CV-742 (D. Md. Mar. 17, 2023). Contemporaneously with filing this lawsuit, Plaintiffs sued

Weijian Shan, the executive director and chairman of Mr. Kwok’s largest creditor, and his son,

in An v. Shan, No. 22-CV-10060 (S.D.N.Y. 2023), for allegedly violating FARA’s registration

requirement. Mr. Kwok has lauded Plaintiff Li as a “comrade[]” and posted photographs of this

complaint on social media. See First Andres Decl. Ex. 5.

       Richard Freeth, who represents the Plaintiffs in this case and in Shan, also represented the

plaintiff in Wyatt v. University of Maryland, No. 23-CV-742 (D. Md. 2023). At issue in Wyatt

was the decision of the University of Maryland, at which Mr. Shan’s daughter is enrolled, to

order Mr. Kwok’s supporters to cease protesting on the college commons. Compl., Dkt. 1 ¶¶ 14,

16, Wyatt, No. 23-CV-742 (D. Md. Mar. 17, 2023). Mr. Freeth also represents the plaintiffs in

Gong v. Sarnoff, No. 23-CV-00343 (S.D.N.Y. 2023), who accuse O’Melveny & Myers LLP and




                                                3
         Case
          Case1:22-cv-10062-VEC-JW
               1:23-cr-00118-AT Document
                                    Document
                                         146-329 Filed
                                                  Filed09/21/23
                                                        08/02/23 Page
                                                                  Page5 4ofof1615




its partner Stuart Sarnoff of “destroying the life of Ho Wan Kwok.” 2 Op., Dkt. 57 at 3, Gong,

No. 23-CV-343 (July 17, 2023) (internal quotation omitted). 3

         On January 11, 2023, the Bankruptcy Court enjoined Mr. Kwok and anyone “in active

concert” with him, including Plaintiff Beile Li, from harassing or “doxing” Defendants. Order,

Dkt. 134 ¶ 5, In re Kwok, Ch 11 Case Nos. 22-50073, 22-5032 (hereinafter “Bankr. Prelim.

Inj.”). In its decision, Bankruptcy Court found that Beile Li is an agent of Mr. Kwok. Id.

         On December 15, 2022, Plaintiffs filed an amended complaint. See Am. Compl. On

January 19, 2023, Defendants moved to dismiss the amended complaint and also moved for

sanctions. See Mot. to Dismiss, Dkt. 14; Mot. for Sanctions, Dkt. 11.

                                                  DISCUSSION

    I.       The Court Lacks Subject Matter Jurisdiction Over Plaintiffs’ Claims

             A. Legal Standard

         A party who asserts that the Court has subject matter jurisdiction over a particular claim

“has the burden of proving by a preponderance of the evidence that it exists.” Makarova v.

United States, 201 F.3d 110, 113 (2d Cir. 2000). Subject matter jurisdiction exists if the case

arises under federal law, see 28 U.S.C. § 1331, or if there is complete diversity between the

parties and the amount in controversy exceeds $75,000.00, see id. § 1332. A court has federal

question jurisdiction if a claim “aris[es] under the Constitution, laws, or treaties of the United

States.” Id. § 1331. To invoke federal question jurisdiction, a complaint must “establish[] either

that federal law creates the cause of action or that the plaintiff’s right to relief necessarily


2
          Judge Liman recently dismissed the complaint in Gong v. Sarnoff et al., No. 23-CV-343 (S.D.N.Y. 2023),
for lack of subject matter jurisdiction. See Op., Dkt. 57, Gong, No. 23-CV-343 (S.D.N.Y. July 17, 2023).
3
        Although only Richard Freeth has filed a notice of appearance on behalf of Plaintiffs, Yongbing Zhang,
who represents plaintiffs in several of the parallel cases filed against Mr. Kwok’s perceived adversaries, appears to
have been actively involved in this litigation. See, e.g., Wyatt v. Univ. of Md., No. 23-CV-742 (D. Md. 2023). For
example, Mr. Freeth copied Mr. Zhang on his most recent letter to this Court. Letter, Dkt. 28.

                                                          4
        Case
         Case1:22-cv-10062-VEC-JW
              1:23-cr-00118-AT Document
                                   Document
                                        146-329 Filed
                                                 Filed09/21/23
                                                       08/02/23 Page
                                                                 Page6 5ofof1615




depends on resolution of a substantial question of federal law.” Perpetual Secs., Inc. v. Tang,

290 F.3d 132, 137 (2d Cir. 2002) (cleaned up).

         Plaintiffs urge the Court to find that it has federal question jurisdiction by inferring a

private right of action under FARA. 4 See Pls. MTD Opp., Dkt. 22 ¶¶ 48–54. FARA requires

any “agent of a foreign principal” to register with the Attorney General unless the entity qualifies

for an exemption, and the statute vests the Attorney General with the sole authority to prosecute

FARA violations. 5 22 U.S.C. § 612; see also id. § 618(f) (granting the Attorney General

authority to seek injunctive relief prohibiting actions taken on behalf of a foreign principal or

requiring registration).

         As Plaintiffs concede, there is no private right of action under FARA. See Am. Compl.

¶¶ 5–6. FARA vests the Attorney General with the exclusive authority to prosecute violations of

the registration requirement, and there is no indication that Congress intended to create a private

right of action. See 22 U.S.C. § 618(f). FARA’s purpose is “to provide [a] centralized reporting

system to track activities of agents acting on behalf of foreign countries . . . and no language in

[the] statute or its legislative history suggests that Congress intended to establish [a] cause of

action in any entity other than [the] Federal Government.” See, e.g., Weican Meng v. Xinhuanet

Co., 2017 WL 3175609, at *3 (S.D.N.Y. July 25, 2017) (quoting Comm’n for a Free Namibia v.

S.W. Africa People’s Org., 554 F. Supp. 722, 722 (D.D.C. 1982)).




4
         Plaintiffs do not argue or allege any facts to suggest the existence of diversity jurisdiction.
5
         An agent of a foreign principal is “any person who acts as an agent, representative, employee, or servant, or
any person who acts in any other capacity at the order, request, or under the direction or control, of a foreign
principal or . . . whose activities are directly or indirectly . . . controlled . . . in whole or in major part by a foreign
principal.” 22 U.S.C. § 611(c). Agents of a foreign principal are exempt from FARA’s registration requirement if
they are “engaging . . . only (1) in private and nonpolitical activities in furtherance of the bona fide trade or
commerce of such foreign principal; or (2) in other activities not serving predominantly a foreign interest.” Id.
§ 613(d).

                                                             5
       Case
        Case1:22-cv-10062-VEC-JW
             1:23-cr-00118-AT Document
                                  Document
                                       146-329 Filed
                                                Filed09/21/23
                                                      08/02/23 Page
                                                                Page7 6ofof1615




       When a statute does not explicitly provide a private right of action, courts are reluctant to

infer one. See, e.g., Sosa v. Alvarez-Machain, 542 U.S. 692, 727 (2004) (noting that courts are

hesitant to infer a private right of action, which “permit[s] enforcement without the check

imposed by prosecutorial discretion”); Olmsted v. Pruco Life Ins. Co. of N.J., 283 F.3d 429, 432

(2d Cir. 2002) (“Without congressional intent, a cause of action does not exist and courts may

not create one, no matter how desirable that might be as a policy matter . . . .” Id. (cleaned up)).

Accordingly, district courts that have considered whether FARA provides an implied private

right of action have uniformly held, as far as this Court can tell, that it does not. See, e.g., Henry

v. Washington, 2022 WL 9491957, at *2 (W.D. Wash. Sept. 16, 2022), report and

recommendation adopted, 2022 WL 9372175 (Oct. 14, 2022); Bey v. Epstein, 2021 WL

8155603, at *4 (D. Conn. Aug. 6, 2021) (“As a private individual, plaintiff lacks standing to sue

under this statute because a private right of action cannot be inferred from FARA.”); Waterhouse

v. Cufi Church Ass’n Inc., 2014 WL 1745098, at *3 (D. Haw. Apr. 29, 2014).

       Plaintiffs acknowledge that the text of FARA and caselaw counsel against finding a

private right of action but nevertheless urge the Court to infer the existence of a private right of

action due to an alleged lack of enforcement by the Attorney General. See Am. Compl. ¶¶ 5–6.

The extent to which the Attorney General chooses to enforce FARA is irrelevant. The

determinative issue is legislative intent, and Plaintiffs fail adequately to allege in their Amended

Complaint or to present in their opposition to the motion to dismiss any facts about the statute or

its legislative history that would suggest that Congress intended for there to be a private right of

action under FARA.

       Even if the Court were to infer a private right of action, however, the Court would still

lack subject matter jurisdiction because Plaintiffs have not shown that they have standing. It is



                                                  6
          Case
           Case1:22-cv-10062-VEC-JW
                1:23-cr-00118-AT Document
                                     Document
                                          146-329 Filed
                                                   Filed09/21/23
                                                         08/02/23 Page
                                                                   Page8 7ofof1615




black-letter law that to bring a claim, a plaintiff must show “(1) an ‘injury in fact,’ (2) a ‘causal

connection’ between that injury and the conduct at issue, and (3) a likelihood ‘that the injury will

be redressed by a favorable decision.’” Maddox v. Bank of N.Y. Mellon Tr. Co., N.A., 19 F.4th

58, 62 (2d Cir. 2021) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–561 (1992)).

Plaintiffs have alleged no facts that would permit the Court plausibly to infer that they have

suffered an injury in fact that is “concrete and particularized,” not “conjectural or hypothetical,”

let alone an injury that might conceivably be traced to Defendants’ failure to register as an agent

of a foreign government. Lujan, 504 U.S. at 560 (cleaned up).

          Without subject matter jurisdiction, the Court must dismiss the case without prejudice.

See Bank v. U.S. Dep’t of Health & Human Servs., 708 F. App’x 43, 44–45 (2d Cir. 2018)

(summary order). The Court declines to grant Plaintiffs leave to amend. Plaintiffs have already

amended their complaint once and failed to remedy the jurisdictional defect; granting Plaintiffs

another bite at the apple would be futile. 6

    II.      Sanctions Are Appropriate Because Plaintiffs’ Complaint Is Frivolous and Was
             Filed for an Improper Purpose

             A. Legal Standard

          Federal Rule of Civil Procedure 11(b) requires an attorney presenting a filing to the court

to certify that “to the best of the person’s knowledge, information, and belief, formed after an

inquiry reasonable under the circumstances,” the filing is not presented for an improper purpose,

and the legal contentions are nonfrivolous and supported by the facts and law. Rule 11 also

“explicitly and unambiguously imposes an affirmative duty on each attorney to conduct a

reasonable inquiry into the viability of a pleading before it is signed.” Int’l Shipping Co., S.A. v.



6
         Because the Court dismisses the Amended Complaint for lack of subject matter jurisdiction, the Court does
not reach the merits of Defendants’ motion to dismiss for failure to state a claim under Rule 12(b)(6).

                                                        7
        Case
         Case1:22-cv-10062-VEC-JW
              1:23-cr-00118-AT Document
                                   Document
                                        146-329 Filed
                                                 Filed09/21/23
                                                       08/02/23 Page
                                                                 Page9 8ofof1615




Hydra Offshore, Inc., 875 F.2d 388, 390 (2d Cir. 1989). Rule 11(c)(2)’s “safe harbor” provision

states that a motion for sanctions “must not be filed . . . if the challenged paper . . . is withdrawn

or appropriately corrected within 21 days after service.” “If, after notice and a reasonable

opportunity to respond, the court determines that Rule 11(b) has been violated, the court may

impose an appropriate sanction on any attorney, law firm, or party that violated the rule . . . .”

Fed. R. Civ. P. 11(c)(1). In addition to the authority provided by Rule 11, district courts have

“inherent authority to sanction parties that appear before it acting in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Sassower v. Field, 973 F.2d 75, 80–81 (2d Cir. 1992)

(citing Chambers v. NASCO, Inc., 501 U.S. 32, 44–45 (1991)).

         A district court also has “broad discretion in tailoring appropriate and reasonable

sanctions under rule 11.” O’Malley v. New York City Transit Auth., 896 F.2d 704, 709 (2d Cir.

1990). 7 In determining whether sanctions are appropriate, courts consider, inter alia, whether

the improper conduct was “willful[] or negligent,” whether the conduct was “part of a pattern or

activity,” or whether the party had “engaged in similar conduct in other litigation.” 8 Colliton v.

Cravath, Swaine & Moore LLP, 2008 WL 4386764, at *12 (S.D.N.Y. Sept. 24, 2008). “The

sanction may include . . . reasonable attorney’s fees and other expenses directly resulting from

the violation.” Fed. R. Civ. P. 11(c)(4).




7
          Even if a court lacks subject matter jurisdiction, it retains the authority to impose sanctions against
Plaintiffs and their counsel. See, e.g., Willy v. Coastal Corp., 503 U.S. 131, 137–39 (1992); Schlaifer Nance & Co.,
Inc. v. Est. of Warhol, 194 F.3d 323, 333 (2d Cir. 1999).
8
         The Court may also consider whether the misconduct infected the entire pleading or only one particular
count or defense; what effect the misconduct had on the litigation process in time or expense; and whether the
responsible person is trained in the law. Colliton v. Cravath, Swaine & Moore LLP, 2008 WL 4386764, at *12
(S.D.N.Y. Sept. 24, 2008).


                                                         8
       Case
       Case1:22-cv-10062-VEC-JW
            1:23-cr-00118-AT Document
                                 Document
                                      146-329Filed
                                               Filed
                                                   09/21/23
                                                     08/02/23Page
                                                              Page109ofof16
                                                                          15




             B. Plaintiffs’ Claims Are Frivolous

        A legal argument is frivolous pursuant to Rule 11(b)(2) if it is “clear” that there is “no

chance of success and no reasonable argument to extend, modify or reverse the law as it stands”

according to an “objective standard of reasonableness.” Morley v. Ciba-Geigy Corp., 66 F.3d

21, 25 (2d Cir. 1995) (internal quotation omitted). A reasonable inquiry would have revealed

that Plaintiffs’ FARA claim was patently untenable for numerous reasons, not least of which was

failing adequately to allege standing.

        Plaintiffs allege no facts to show that they have been “concretely harmed” by the

Defendants’ alleged violation of FARA as required to establish standing. TransUnion LLC v.

Ramirez, 141 S. Ct. 2190, 2205 (2021); see also Holcombe v. Ingredients Sols., Inc., 797 F.

App’x 630, 632 (2d Cir. 2020) (injury-in-fact must be “concrete and particularized”). The

Amended Complaint describes concrete harm experienced by only one Plaintiff, Cui Qingyun.

According to the Amended Complaint, at some unspecified time 9 Mr. Qingyun and his wife’s

extended family lost their fortunes to the PRC and, in April 2022, the PRC “forcibly locked

down” him and his immediate family and fed them only intermittently for two weeks. Am.

Compl. ¶ 28. The Amended Complaint alleges no facts, however, that connect the purported

mistreatment of Cui Qingyun and his family by the PRC to Mr. Despins or Paul Hastings acting

as an unregistered agent of the PRC or the CCP.

        As to the other nine Plaintiffs, there are no allegations of any injury suffered. Instead,

Plaintiffs rely on conclusory allegations of generalized injuries, including that they were

“subjected to an ongoing campaign of harassment by agents of the CCP and PRC.” Id. ¶ 22.

Conclusory statements of injury are insufficient adequately to allege standing. See Gambles v.


9
         Although the Amended Complaint does not allege a date when these confiscations occurred, it was
apparently decades ago when the CCP took control of China. See Am. Compl. ¶ 28.

                                                       9
       Case
        Case1:22-cv-10062-VEC-JW
             1:23-cr-00118-AT Document
                                  Document
                                       146-329 Filed
                                                Filed09/21/23
                                                      08/02/23 Page
                                                                Page1110ofof1615




Sterling Infosystems, Inc., 234 F. Supp. 3d 510, 516 (S.D.N.Y. 2017). “Article III grants federal

courts the power to redress harms that defendants caused plaintiffs, not a freewheeling power to

hold defendants accountable for legal infractions.” TransUnion LLC, 141 S. Ct. at 2206 (internal

quotation omitted).

         Even if the Court found that Plaintiffs had plausibly alleged some concrete injury,

Plaintiffs have alleged no facts from which the Court can reasonably infer that Paul Hastings’

provision of legal services to Jinshang Bank is an activity “directly or indirectly . . . controlled

. . . in whole or in part by a foreign principal” such that Paul Hastings qualifies as an “agent of a

foreign principal” within the meaning of FARA. 22 U.S.C. § 611(c). As thin as the allegations

are against Paul Hastings, they are even thinner against Mr. Despins. The Amended Complaint

alleges no facts specific to Mr. Despins beyond the fact that he is a resident of Connecticut. Am.

Compl. ¶ 20. And even if Plaintiffs had alleged facts from which it would be plausible to infer

that either Defendant was an agent of the PRC or CCP that is required to register pursuant to

FARA, they do not explain how whatever harm they experienced is “fairly traceable” to

Defendants’ failure to register. Lujan, 504 U.S. at 560. Plaintiffs allege that Defendants

“intimidated [them] into refraining from exercising their rights,” Am. Compl. ¶ 25, but fail

plausibly to allege any specific facts in support of this conclusory allegation or explain how

registering as foreign agents would have prevented Defendants from inflicting this harm. 10

         Because even a cursory inquiry would have shown that the facts as alleged in the

Amended Complaint fell far short of the threshold required to establish standing, Plaintiffs’



10
         Plaintiffs also seem to argue that, because Paul Hastings provided legal services to Jinshang Bank,
Defendants are responsible for any harm caused by the CCP or PRC. See Am. Compl. ¶¶ 39–49, 51–53.
This claim is so tenuous as to be absurd. Plaintiffs also do not allege that Mr. Despins is connected to the CCP or
PRC at all.


                                                         10
       Case
        Case1:22-cv-10062-VEC-JW
             1:23-cr-00118-AT Document
                                  Document
                                       146-329 Filed
                                                Filed09/21/23
                                                      08/02/23 Page
                                                                Page1211ofof1615




counsel clearly failed to fulfill the “affirmative duty on each attorney to conduct a reasonable

inquiry into the viability of the pleading before it is signed.” Int’l Shipping Co., S.A., 875 F.2d at

390 (internal quotation omitted). This is particularly true because Defendants notified Plaintiffs

that Defendants believed that the complaint “plainly was filed for the improper purpose of

furthering Ho Wan Kwok’s ongoing campaign to harass and intimidate Defendants,” and that

Plaintiffs’ complaint was frivolous because FARA does not provide for a private right of action.

See First Andres Decl. Ex. 1 at 1–2.

         The Court finds that sanctions are appropriate. Defendants complied with Rule 11’s safe

harbor provision: they gave Plaintiffs notice of their intent to file sanctions because the

complaint Plaintiffs filed was frivolous and served the Rule 11 motion papers to the last known

address of Plaintiff’s office more than twenty-one days before moving for sanctions. 11 See Fed.

R. Civ. P. 11(c)(2). Plaintiffs persisted by filing an Amended Complaint that cured none of the

deficiencies Defendants had identified. See First Andres Decl. ¶ 2.




11
         In what itself may well be a sanctionable argument, Mr. Freeth argues that Defendants did not comply with
Rule 11’s safe harbor provision because Defendants’ service of the motion for sanctions was defective. Pls.
Sanctions Opp., Dkt. 23 ¶¶ 7–8. This argument reeks of gamesmanship. Defendants properly served Mr. Freeth.
Federal Rule of Civil Procedure 11(c)(2) requires a motion for sanctions to be served in accordance with Rule 5,
which permits service by several methods, including “mailing it to the person’s last known address,” “handing it to
the person,” or leaving it “at the person’s office.” Fed. R. Civ. P. 5(b)(2)(B). As long as the sender mailed the
documents to the recipient’s last known address, however, service is considered complete, even if the recipient did
not receive the mail. See, e.g., Greene v. WCI Holdings Corp., 136 F.3d 313, 315 (2d Cir. 1998).

          Mr. Freeth’s last known address is his office address, which he has listed on all of the papers that he has
filed in this case, on ECF, and which is on record with the First Judicial Department in connection with his
registration to practice law in New York. See Second Andres Decl. Ex. 5, Dkt. 26. ECF Rule 20.6 requires
attorneys to keep their addressees current. See ECF Rules and Instructions (July 24, 2023), available at
https://www.nysd.uscourts. gov/rules/ecf-related-instructions. On December 27, 2022, Defendants served Mr.
Freeth via mail and in-person service at the last known address of his office. See Second Andres Decl. ¶¶ 12–13.
Defendants also requested that Mr. Freeth provide a new address, but he did not do so. See id. ¶ 15. Because
Defendants complied with Rule 11’s safe harbor provision, Mr. Freeth cannot argue that Plaintiffs did not have a
reasonable opportunity to respond.

                                                          11
        Case
         Case1:22-cv-10062-VEC-JW
              1:23-cr-00118-AT Document
                                   Document
                                        146-329 Filed
                                                 Filed09/21/23
                                                       08/02/23 Page
                                                                 Page1312ofof1615




            C. Plaintiffs Filed the Lawsuit To Harass Defendants
         Pursuant to Rule 11(b)(1), an attorney cannot present a filing “for any improper purpose,

such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation.” Fed. R.

Civ. P. 11(b)(1). A court may infer an improper purpose if, in light of Plaintiffs’ conduct during

and outside of litigation, a complaint is so baseless as to suggest that there is an ulterior motive

behind the lawsuit. See, e.g., S. Pac. Shipping Co. v. Redi-Fresh Produce Inc., 2014 WL

6968039, at *10 (S.D.N.Y. Dec. 9, 2014) (holding that “the deficiency of [plaintiff’s] claim,

coupled with its behavior” in litigation in that and other courts “gives rise to an inference of

improper purpose”); see also Schlaifer Nance & Co, Inc.. v. Estate of Warhol, 194 F.3d 323, 338

(2d Cir. 1999) (a court can infer bad faith when an action is “so completely without merit as to

require the conclusion [it] must have been undertaken for some improper purpose,” id. (cleaned

up)).

         In this case, the context of Plaintiffs’ filing demonstrates Plaintiffs’ complete disregard

for “legal merit.” Galonsky v. Williams, 1997 WL 759445, at *4–5 (S.D.N.Y. Dec. 10, 1997).

Plaintiffs failed to withdraw their complaint after the Bankruptcy Court enjoined Plaintiff Li and

those “in active concert” with him from making baseless claims that Paul Hasting was an agent

of the CCP. See Bankr. Prelim. Inj. at 60. Plaintiffs continued to violate that injunction even

after Defendants notified Plaintiffs’ counsel of numerous deficiencies in the complaint, which

Mr. Feeth failed to cure when he subsequently filed the Amended Complaint. See id.; First

Andres Decl. Ex. 1 at 1–2.

         Plaintiffs’ papers reveal that their true preoccupation is with Mr. Kwok and trying to

“defend” him by harassing those perceived to be his adversaries. Plaintiffs contend that Mr.

Kwok’s bankruptcy proceeding is “irrelevant” but nevertheless devote roughly half of their

opposition to Defendants’ motion to dismiss discussing Mr. Kwok’s supposed “fight against the

                                                  12
      Case
       Case1:22-cv-10062-VEC-JW
            1:23-cr-00118-AT Document
                                 Document
                                      146-329 Filed
                                               Filed09/21/23
                                                     08/02/23 Page
                                                               Page1413ofof1615




CCP.” Pls. MTD Opp. ¶ 19; see also See Pls. Sanctions Opp. ¶ 16; Pls. MTD Opp. ¶¶ 13–47.

Plaintiffs baselessly assert, with no factual allegations to support their conclusion, that Mr.

Despins “has behaved thoroughly adverse to Mr. Kwok throughout the proceedings, rather than

serving as trustee in a neutral manner,” Pls. MTD Opp. ¶ 41, as though that somehow explains

why people other than Mr. Kwok might have a cause of action against Mr. Despins.

       The existence of similar litigation in other courts further supports the Court’s finding that

Plaintiffs filed this lawsuit in bad faith. Plaintiffs’ counsel has a pattern of bringing meritless

FARA claims against Mr. Kwok’s adversaries — conduct that he has praised. 12 The copy-and-

paste nature of these numerous lawsuits is evident from the fact that Plaintiffs’ complaint

contains an out-of-place paragraph that alleges “Defendant Bo Shan is also working as a spy for

the CCP.” Am. Compl. ¶ 50.

       Together, Plaintiffs’ legal contentions within this lawsuit, Plaintiff’s counsel’s history of

meritless FARA claims against others, and the harassment campaign against Defendants as

documented by the Bankruptcy Court lead the Court to conclude that this lawsuit is just another

part of a campaign of misbehavior designed to vex Defendants, most likely by frustrating Mr.

Despins’s ability to perform his duties as trustee. As such, the Court finds that sanctions are

appropriate.

       Rule 11(c) enables courts to impose a sanction that “suffices to deter repetition of the

conduct or comparable conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4).

Attorneys’ fees are an appropriate remedy to prevent harassment in the form of bad-faith

litigation, especially when the sanctioned party has failed to comply with prior court orders. See

Pentagen Techs. Int’l Ltd. v. United States, 172 F. Supp. 2d 464, 473–474 (S.D.N.Y. 2001)



12
       See supra, pp. 3–4.

                                                  13
      Case
       Case1:22-cv-10062-VEC-JW
            1:23-cr-00118-AT Document
                                 Document
                                      146-329 Filed
                                               Filed09/21/23
                                                     08/02/23 Page
                                                               Page1514ofof1615




(imposing sanctions and awarding attorneys’ fees to punish plaintiffs for “engag[ing] in a pattern

of litigation designed to evade previous rulings” that was “frivolous and repetitive . . . [and]

intentionally so”), aff’d, 63 F. App’x 548 (2d Cir. 2003). “It is well settled that Rule 11

empowers judges with discretion to award that portion of a defendant’s attorney’s fees thought

reasonable to serve the sanctioning purpose of the Rule.” Int’l Shipping Co., S.A., 875 F.2d at

392. The Court finds that an award of the full amount of reasonable attorneys fees is an

appropriate sanction and not more punitive than necessary in light of Plaintiffs’ counsel’s

complete disregard for the merits of Plaintiffs’ claims, his gamesmanship, and both Plaintiffs’

and Plaintiffs’ counsel’s defiance of the Bankruptcy Court’s injunction.

       Rule 11 “authorizes assessment of a fee against counsel, a party, or both.” Eastway

Constr. Corp. v. City of New York, 821 F.2d 121, 124 (2d Cir. 1987). Here, certain aspects of

Plaintiffs’ lawsuit are “issue[s] over which counsel exercise[d] principal responsibility,” United

Republic Ins. Co., in Receivership v. Chase Manhattan Bank, 315 F.3d 168, 171 (2d Cir. 2003),

like ensuring that the complaints filed met a minimum merit threshold and pled adequate facts to

establish subject matter jurisdiction. Plaintiffs’ behavior — including their decision to pursue

this lawsuit after the Bankruptcy Court’s injunction — demonstrates, however, that Plaintiffs

also bear responsibility for the harassment and frivolity of this lawsuit. In light of this, the Court

imposes the fee award jointly and severally upon Plaintiffs and Plaintiffs’ counsel.

                                          CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss and motion for reasonable

attorneys’ fees and costs as sanctions are GRANTED. The Amended Complaint is DISMISSED

without prejudice. Defendants must submit an application for attorney’s fees and costs not later




                                                  14
      Case
       Case1:22-cv-10062-VEC-JW
            1:23-cr-00118-AT Document
                                 Document
                                      146-329 Filed
                                               Filed09/21/23
                                                     08/02/23 Page
                                                               Page1615ofof1615




than August 11, 2023. The Clerk of Court is respectfully directed to terminate the open motions

at docket entries 11 and 14.



SO ORDERED.

                                                                  ________________________
Date: August 2, 2023                                              VALERIE CAPRONI
New York, New York                                                United States District Judge




                                              15
